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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES--GENERAL


  Case No. CV 20-8035-SVW (JPRx)                  Date: April 12, 2021
  Title: Hong Liu v. Faraday & Future Inc. et al.
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  DOCKET ENTRY: Order Requiring Meet and Confer
  ===========================================================
  PRESENT:
                      HON. JEAN P. ROSENBLUTH, U.S. MAGISTRATE JUDGE
                             Bea Martinez                              n/a
                             Deputy Clerk                        Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:                       ATTORNEYS PRESENT FOR DEFENDANT:
        None present                                                   None present

  PROCEEDINGS: (IN CHAMBERS)

         After reviewing all filings relating to Defendants’ pending motion to compel
  Plaintiff’s production of documents and further responses, it is clear that the parties have
  not yet properly met and conferred concerning the motion and the disputed issues. They
  are ORDERED to do so for at least an hour (unless they resolve all remaining issues in
  less time), in good faith, no later than the hearing set for 10 a.m. on Thursday, April 15.
  The Court expects the parties to resolve most if not all of the disputed issues on their
  own. To assist them in reaching appropriate resolutions, the Court offers the following
  preliminary guidance based on its review of the parties’ pleadings. At the hearing, the
  Court will hear any remaining disputes and consider Defendants’ sanctions requests as
  well as whether the Court should sua sponte sanction any party who has maintained an
  unreasonable position and has not met and conferred in good faith.

        1) RFP 20 is likely overbroad and unclear and should probably be limited to
  vacation travel and travel related to securing new employment.

         2) Plaintiff’s response to RFP 21 that he has “no relevant” social media accounts
  is insufficient because he is not the arbiter of what is relevant. If he has maintained any
  social media accounts since his termination beyond the LinkedIn account, he should
  explain to Defendants what they are and the parties should meet and confer concerning
  the appropriate scope of production.

  MINUTES FORM 11                                                  Initials of Deputy Clerk: bm
  CIVIL-GEN
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         3) RFPs 29 and 30 are probably overbroad temporally. Although Defendants
  are correct that they need the information requested to be able to learn of any
  preexisting conditions Plaintiff might have had, going back to 2012, not 2007, is
  likely sufficient.

        4) As Plaintiff mostly acknowledges, the other disputed RFPs request
  information to which Defendants are likely entitled. Plaintiff should likely be
  prepared to turn over all outstanding responsive documents no later than two weeks
  from the date of the hearing, along with a privilege log if any documents are withheld
  on that basis.




  MINUTES FORM 11                                              Initials of Deputy Clerk: bm
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